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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                             CIVIL MINUTES - GENERAL
 Case No.          CV16-6196-CAS(GJSx)                                                 Date   September 30, 2021
 Title             ANGELINA TRIPLETT-HILL v. MICAH WILLIAMS P/K/A KATT WILLIAMS



 Present: The Honorable            CHRISTINA A. SNYDER, U.S. DISTRICT JUDGE
                Catherine Jeang                             Not Present                               N/A
                 Deputy Clerk                        Court Reporter / Recorder                      Tape No.
                Attorneys Present for Plaintiffs:                    Attorneys Present for Defendants:
                          Not Present                                                 Not Present
 Proceedings:                 (IN CHAMBERS) - ORDER TO SHOW CAUSE

       IT IS HEREBY ORDERED that PLAINTIFF show cause in writing not later
than November 4, 2021 why this action should not be dismissed for lack of prosecution
as to defendant MICAH WILLIAMS P/K/A KATT WILLIAMS.

       In accordance with Rule 78 of the Federal Rules of Civil Procedure and Local Rule
7.15, oral argument shall not be heard in the above matter unless so ordered by the Court.
The Order to Show Cause will stand submitted upon the filing of briefs.

         Plaintiff is advised that the Court will consider the following:

1)       Plaintiff's filing of a application for the clerk to enter default judgment on
         defendant MICAH WILLIAMS P/K/A KATT WILLIAMS, or plaintiff’s filing
         of a motion for entry of default judgment on defendant MICAH WILLIAMS
         P/K/A KATT WILLIAMS

on or before the above date, as a satisfactory response to the Order to Show Cause.

                                                                                              00      :      00

                                                               Initials of Preparer                 CMJ




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